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            6:21-cr-00011-BMM Document
                               Document12-1
                                        13 Filed
                                            Filed12/02/21
                                                  12/02/21 Page
                                                            Page11ofof11




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         HELENA MONTANA

UNITED STATES OF AMERICA,                    Case No. CR 21-11-H-BMM

               Plaintiff,

vs.                                             ORDER SETTING
                                              DETENTION HEARING
ROSEMARIE ANN MURROW, a.k.a.
GHOST,

              Defendant.

      Upon Motion of Defendant Rosemarie Ann Murrow for the setting of a

Detention Hearing, there being no objection from the Government;

      IT IS HEREBY ORDERED that a Detention Hearing is scheduled in this

matter for Tuesday, December 7, 2021 at 2:30 p.m.




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